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SUMMONS - CIRCUIT COURT                                                                                                                      3101 (Rev. 6/18)

                                        UNITED STATES OF AMERICA
STATE OF ILLINOIS                                                               COUNTY OF DU PAGE
                         IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT




      PRIORITY TRANS, INC.                                         2018L000861
                            PLAINTIFF                               CASE NUMBER
                 VS




    SNIDER INDUSTRIES, INC.
                           DEFENDANT
                                                                    SUMMONS
                                                                   CIRCUIT COURT                                                   File Stamp Here
                                                                n ORIGINAL
                                                          Q ALIAS
                                                - Basil Campbell, Registered Agent for Snyder;
 To each Defendant: Snyder Industries, Inc. 1005
                                            1    Atlantic Dr . , West Chicago, IL 60185
 You are Summoned and Required to file an answer to the complaint in this case, a copy of which is hereto attached, or
 otherwise file your appearance in the office of the Clerk of the Circuit Court, 505 N. County Farm Road, Wheaton,
 Illinois, within 30 days after service of this summons not counting the day of service.
         If you fail to do so, a judgment by default may be entered against you for the relief asked in the complaint.

                                                      To the Officer
 This summons must be returned by the officer or other person to whom it was given for service, with endorsement of
 service and fees, if any, immediately after service and not less than three (3) days before the date of appearance. If
 service cannot be made, this summons shall be returned so endorsed.
                         This summons may not be served later than thirty (30) days after its date.

                DATE OF SERVICE


 TO BE INSERTED BY OFFICER ON COPY LEFT WITH DEFENDANT
                    OR OTHER PERSON
                                                                                       WITNESS:
 Name.     CHAWLA & RAVANI, P.C.                         Pro Se
 DuPage Attorney Number: 298354                                                        CHRIS KACBIROlUBAS, Clerk of the
                                                                                       Eighteenth Judicial Circuit Court, and the seal
 Attorney for. Plaintiff •                                                             thereof, Wheaton, Illinois
                                                                                                              Electronically Issued
 Address: 3908 N. Cass Avenue
                                                                                                 Date   07/ 6/2018         Dat
 City/State/Zip. Westmont, IL 60559
 Telephone Number. (630) 325-5557                                                                                      )eputy
                                                                                                                                    KACHIROUBAS, Cler
                                                                                                                              clerk
                                                                                                                           CHRIS
 Email:    tschawla@chawlaravanteom
                                                                                                                 By   KUFER,JAMES
E-filing is now mandatory for documents in civil cases with limited exeml tion,           , you mosittrourxreate an accou
with an e-filing service provider. Visit.http://efile.illinoiscourts.gov/servio-
service provider. If you need additional help or have trouble e-filing, visit http://wANIMiscourts.gov/FAQ/gethelp.asp.

                                                             NOTE:
   The filing of an appearance or answer with the Circuit Court Clerk requires a statutory filing fee, payable at the time of filing.
   If you need legal advice concerning your legal responsibility as a result of this summons being serviced upon you
   and you don't have a lawyer, you can call the DuPage Bar Association, Lawyer Referral Service at 630-653-9109.
                        CHRIS KACHIROUBAS, CLERK OF THE 18th JUDICIAL CIRCUIT COURT
                                            WHEATON, ILLINOIS 60187-0707                               Gzjkdkv
                                                                                                       Exhibit
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                                                                                                                                              A
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SUMMONS - CIRCUIT COURT                                                                                                            3101 (Rev. 6/18)


                                                           SH ti   RIFF'S FEES

 Service and return
 Miles
         Total
                                                                         Sheriff of                                                      County

                                                        SHERIFF'S RETURN
                              I certify that I served this summons on defendant as follows:

           (a)      (Individual - personal):
                    By leaving a copy and a copy of the complaint with each individual as follows:

           (b)      (Individual - abode):
                     By leaving a copy and a copy of the complaint at the usual place of abode of each
                    individual with a person of his family, of the age of 13 years or upwards, informing that
                    person of the contents of the summons, and also by sending a copy of the summons and the
                    complaint in a sealed envelope with postage fully prepaid, addressed to each individual at
                    the usual place of abode, as follows:


r   i
           (c)      (Corporation):
                    By leaving a copy and a copy of the complaint with the registered agent, officer, or agent of
                    each corporation as follows:

           (d)         (Other service):

           (e)         (Unable to Serve):
                       By                                                                  Deputy Badge Number:



 Name of Defendant                                                               Name of Defendant
 Name of Person                                                                  Name of Person
 summons given to                                                                summons given to
 Sex            Race          Approximate age                                    Sex                 Race                  Approx. age

 Place of service                                                                Place of service
 City , State                                                                    City , State
 Date of service                         Time                                    Date of service                               Time   •

 Date of Mailing                                                                 Date of Mailing
                                                                                 Sheriff of                                              County
 Special Process Server of                                                        County Illinois License #

                                                                                 By

                           CHRIS KACHIROUBAS, CLERIC OF THE 18th JUDICIAL CIRCUIT COURT C
                                           WHEATON, ILLINOIS 60187-0707
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         IN THE CIRCUIT COURT FOR THE EIGHTEENTH JUDICIAL CIRCUIT
                    DUPAGE COUNTY, WHEATON, ILLINOIS

PRIORITY TRANS, INC.                                                                                                  Chris Kathiroubas
                                                                                                                      f1.3Le,c 15=a I,Izi21 Ocr1,

                                                                                                                TRAM 170431030218/( 4329290 )
                        Plaintiff,                                                                              2018L000861
                                                                                                                FILTRATE 07/26/2018
                                                                                                                Dale Submillea : 07/26/2018 04:49 PM
       V.                                                            Case No. 2018L000861                        Dale Accepted : 07/27/2018 08:19 AM

                                                                                                                      10-23-2018 4m2020 9am
SNYDER INDUS I RIES, INC.

                         Defendant.

                                            COMPLAINT AT LAW

       NOW COMES Plaintiff PRIORITY TRANS, INC., an Illinois Corporation by and

through its attorneys, T. PAUL S. CHAWLA and CHAWLA & RAVANI, P.C., who complains

of Defendant SNYDER INDUSTRIES, INC. as follows:

                                        NATURE OF THE ACTION

       1.      This cause of action arises out of a claim by Plaintiff, PRIORITY TRANS, INC.

("Plaintiff'), in seeking relief against Defendant, SNYDER INDUSTRIES, INC. ("Defendant")

for damages suffered by Plaintiff as a result of Defendant's repeated failure to compensate

Plaintiff for its services rendered. The services have been fully and properly performed and

invoices have been rendered for all such services.

                             PARTIES, JURISDICTION, AND VENUE

       2.      Plaintiff, PRIORITY TRANS, INC., at all times relevant herein is an Illinois

corporation in good standing duly licensed and organized under the laws of the State of Illinois

with its principle place of business in DuPage County, Illinois.

       3.      Plaintiff is in the business of providing transportation services.

       4.      Defendant, SNYDER INDUSTRIES, INC., at all times relevant herein is a

Nebraska corporation engaged in the business of manufacturing plastics and other products in




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DuPage County, Illinois.

       5.      Defendant, at all times relevant herein operated out of its Bensenville Plant

located at 736 Birginal Dr., Bensenville, Illinois 60106.

       6.      Defendant is a former client of Plaintiff.

       7.      Defendant hired Plaintiff to provide transportation services for goods Defendant

had manufactured.

       8.      Venue is appropriate in this judicial circuit in accordance with 735 ILCS 5/2-

101(2) because all the transactions that form the basis for this Complaint occurred in DuPage

County, Illinois.

                                             FACTUAL BACKGROUND

       9.      Defendant contracted Plaintiff to provide transportation services for Defendant's

benefit in connection with transporting goods to Defendant's clients. Defendant agreed to

compensate Plaintiff for its services based on the agreed upon pricing.

        10.    Plaintiff was to provide transportation services, inclusive of loading, unloading,

dispatch, labor, services, and equipment (collectively "Work"), for Defendant.

        11.    The agreement reached between the parties obligates Defendant to pay Plaintiff

for services rendered.

        12.    In exchange for the Work and transportations services pursuant to the teuus of the

invoices provided, Defendant agreed to pay Plaintiff the sum of $135,596.03, which is still due

and owing.

        13.     Plaintiff has submitted invoices to Defendant for the Work.

        14.     Despite repeated demands by Plaintiffs, Defendant has refused to pay these

invoices.

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                                               COUNT I
                                          BREACH OF CONTRACT

       15.     Plaintiff realleges and incorporates by reference Paragraphs 1-14 of its Complaint

as inclusive of Count I as though they were fully set forth herein.

        16.    Defendant contracted Plaintiff to provide transportation services for Defendant's

benefit in connection with transporting goods to Defendant's clients. Defendant agreed to

compensate Plaintiff for its services based on the agreed upon pricing.

        17.     Plaintiff provided Work to the exclusive benefit of Defendant.

        18.     Defendant has failed to pay the Plaintiff.

        19.     There is due and owing the sum of $135,596.03, the balance of fees and costs.

        20.     That the amounts due herein are for a liquidated sum                            on   costs and attorneys' fees

in connection with the above-mentioned problems. Defendant has acted vexatiously in delaying

payment on such invoices. Accordingly, pre-judgment interest is due on these amounts pursuant

to 815 ILCS 205/2.

        WHEREFORE, Plaintiff, PRIORITY TRANS, INC asks for judgment against Defendant

SNYDER INDUSTRIES, INC. for actual damages in an amount of $135,596.03, together with

statutory pre and post judgment interest, reasonable attorney fees and costs of this suit, and for

any further relief that this Court deems just and fair in this matter.

                                                   COUNT II
                                                ACCOUNT STATED

        21.     Plaintiff realleges and incorporates by reference Paragraphs 1-20 of its Complaint

as inclusive of Count II as though they were fully set forth herein.

        22.     Throughout the relationship between the parties, Plaintiff has rendered invoices

constituting statements of accounts for amounts owed by Defendant in exchange for services

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rendered by Plaintiff.

       23.     During this time, Defendant has retained the aforementioned invoices for a

substantial period of time without objection.

       24.     Defendant has recognized and Plaintiff the correctness of the account, as reflected

in the invoices submitted by Plaintiff, without contesting the same.

       25.     Defendant, on numerous occasions, has promised to pay the outstanding balance

due and owing to Plaintiff.

       26.     Defendant's failure to pay to object to the invoices from Plaintiff constitutes an

acceptance of the amounts due and owing as reflected in the aforementioned invoices.

        27.     Defendant has failed to make payments to Plaintiff who, as a result, has sustained

damages.

        28.     That the amounts due herein are for a liquidated sum on costs and attorneys' fees

in connection with the above-mentioned problems. Defendant has acted vexatiously in delaying

payment on such invoices. Accordingly, pre-judgment interest is due on these amounts pursuant

to 815 ILCS 205/2.

        WHEREFORE, PRIORITY TRANS, INC., respectfully requests entry of a judgment

against SNYDER INDUSTRIES, INC. in the amount of $135,596.03, together with statutory pre

and post judgment interest, reasonable attorney fees and costs of this suit, and for any further

relief that this Court deems just and fair in this matter.

                                                   COUNT III
                                                QUANTUM MERUIT

        29.     Plaintiff realleges and incorporates by reference Paragraphs 1-28 of its Complaint

as inclusive of Count III as though they were fully set forth herein.

        30.     Plaintiff rendered services in the form of shipping goods on behalf of the
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Defendant and upon the request and consent of Defendant.

       31.     The services Plaintiff provided to Defendant had a reasonable value of

$135,596.03.

       32.     Defendant has recognized and acknowledged the correctness of the account, as

reflected in the invoices submitted by Plaintiff, without contesting the same.

       33.     Upon demand by Plaintiff for payment, Defendant, on numerous occasions, has

promised to pay the outstanding balance due and owing to Plaintiff.

       34.     Defendant has failed and refuses to make payments to Plaintiff who, as a result,

has sustained damages.

       35.     That the amounts due herein are for a liquidated sum on costs and attorneys' fees

in connection with the above-mentioned problems. Defendant has acted vexatiously in delaying

payment on such invoices. Accordingly, pre-judgment interest is due on these amounts pursuant

to 815 ILCS 205/2.

        WHEREFORE, PRIORITY TRANS, INC., respectfully requests entry of a judgment

against SNYDER INDUSTRIES, INC. in the amount of $135,596.03 which is the reasonable

value of the services provided, together with statutory pre and post judgment interest, reasonable

attorney fees and costs of this suit, and for any further relief that this Court deems just and fair in

this matter.

                                                  COUNT IV
                                             UNJUST ENRICHMENT

        36.     Plaintiff realleges and incorporates by reference Paragraphs 1-35 of its Complaint

as inclusive of Count IV as though they were fully set forth herein.

        37.     Plaintiff conferred a benefit on Defendant by rendering services in the form of

shipping goods on behalf of the Defendant and upon the request and consent of Defendant.
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       38.     Defendant has recognized and acknowledged they have received a benefit from

Plaintiff in the form of services rendered that amounted to $135,596.03.

       39.     Defendant has accepted and retained the benefit of the services and has unjustly

withheld providing any compensation to Plaintiff.

       40.     That the amounts due herein are for a liquidated sum on costs and attorneys' fees

in connection with the above-mentioned problems. Defendant has acted vexatiously in delaying

payment on such invoices. Accordingly, pre judgment interest is due on these amounts pursuant

to 815 ILCS 205/2.

        WHEREFORE, PRIORITY TRANS, INC., respectfully requests entry of a judgment

against SNYDER INDUSTRIES, INC. in the amount of $135,596.03, which is the value of the

benefit of the services provided, together with statutory pre and post judgment interest,

reasonable attorney fees and costs of this suit, and for any fiwther relief that this Court deems just

and fair in this matter.

                                             COUNT
                                     FRAUDULENT CONCEALMENT

        41.     Plaintiff realleges and incorporates by reference Paragraphs 1-40 of its Complaint

as inclusive of Count V as though they were fully set forth herein.

        42.     Plaintiff is informed and believes and thereon alleges that Defendant knew of the

unauthorized transactions and lack of intent to provide payment alleged herein and knowingly

concealed said material facts from Plaintiff.

        43.     Plaintiff is informed and believes and thereon alleges that Defendant concealed

the unauthorized transactions and lack of intent to provide payment with the intent to deceive

Plaintiff and to induce Plaintiff to continue to perfoml under the Contract and continue to

provide services based on a promise of payment to Plaintiff for services rendered on behalf of
                                                                  6




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Defendant.

       44.     Plaintiff continued to perform under the Contract and continued to provide

services to Defendant in justifiable reliance on the facts as it knew them, and Plaintiff could not

have discovered the truth through reasonable inquiry or inspection.

       45.     Defendant controlled the flow of infoimation pertaining to false statements and

lack of intent to make payments to Plaintiff.

       46.     As a direct and proximate result of Defendant's aforesaid concealment, Plaintiff

sustained and continues to sustain damage, including costs of $135,596.03, in an amount in

excess of the minimal jurisdiction of this Court, to be established at trial according to proof

        47.    That the amounts due herein are for a liquidated sum on costs and attorneys' fees

in connection with the above-mentioned problems. Defendant ha; acted vexatiously in delaying

payment on such invoices. Accordingly, pre-judgment interest is due on these amounts pursuant

to 815 ILCS 205/2.

        WHEREFORE, Plaintiff, PRIORITY TRANS, INC. asks for judgment against Defendant

SNYDER INDUSTRIES, INC. for actual damages in the amount of $135,596.03, together with

statutory pre and post judgment interest, reasonable attorney fees and costs of this suit, and for

any further relief that this Court deems just and fair in this matter.

                                                                       Respectfully submitted,
T. Paul S. Chawla
CHAWLA & RAVANI, P.C.                                                  PRIORITY TRANS, INC.
3908 N. Cass Avenue                                                    An Illinois Corporation
Westmont, IL 60559
Phone: (630) 325-5557                                                                cc- -
Email: tschawla@chawlaravani.com                                       By:
DuPage Attorney No.: 298354                                                       One of its attorneys




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